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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                          Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/


                       DR. CRAIG WRIGHT’S MOTION TO FILE UNDER SEAL

         Today, Dr. Wright will be filing his Opposition to Plaintiffs’ Motion to Compel [D.E. 197]

  (the “Opposition”). In the Opposition, Dr. Wright references information that has been designated

  as confidential under paragraphs 3(e) and 11 of the Stipulated Confidentiality Order [D.E. 105]

  that was granted by this Court on February 22, 2019. D.E. 106. In accordance with that Stimulated

  Confidentiality Order, such information must be filed under seal in accordance with Local Rule

  5.4(b), which requires permission from the Court to file documents under seal.

         For the forgoing reasons, Dr. wright respectfully requests that the Court permit him to file

  the Opposition under seal.

                                                   Respectfully submitted,


                                                    Attorneys for Dr. Craig Wright

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                                   CERTIFICATE OF SERVICE

         I certify that on June 7, 2019, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S. Mail.




                                                               /s/ Andres Rivero_______
                                                               ANDRES RIVERO
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